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           EXHIBIT 2
      Case 1:16-cr-10343-ADB Document 1150-2 Filed 01/16/20 Page 2 of 5



From:             Pacheco Anthony
To:               Lee John CUSACAC); Barnhardt. Rebecca
Cc:               Cohen David (CIV)
Subject:          RE: Insys - Status Report
Date:             Friday, March 21, 2014 9:14:44 PM




John -

We can provide you with the following information regarding Joe Rowan's damaged cell phone .

.The phone was lost on 1/22/14 while Joe was skiing at a ski resort in Colorado. Joe could not locate
the phone that evening. The next morning he called Lost and Found. They were closed. He called
again later and they told him they had it and he could come get it. When Joe arrived at the Lost and
Found desk, they told him the phone was damaged. They also told him they were going to throw it
away because it was so damaged. He told them not to throw it away .

.Joe then took the damaged phone to the Verizon Store in Steamboat Springs, CO to see if they could
recover any data from the phone. The employees at the Verizon Store told Joe that they were unable
to recover anything from his phone. Joe then purchased a new iPhone from that store and kept the old,
damaged phone .

. Persons with direct knowledge of the event include Joe, his wife, possibly his children, the employees
at the Lost and Found, and the employees at the Verizon Store .

.According to Deloitte, they were unable to obtain any data from the damaged phone. The phone was
extensively damaged .

.Joe's cell phone service provider is Verizon Wireless.

We are unable to provide you the data breakdown per person/per device in house. We will contact our
vendor to retrieve that information for you.

Anthony Pacheco I Chairman, Corporate Defense & Investigations
Jeffer Mangels Butler & Mitchell LLP I JMBM
1900 Avenue of the Stars, 7th Floor, Los Angeles, CA 90067
D: (310) 785-5309 I E: Pacheco@JMBM.com
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you or any other person in connection with promoting, marketing or recommending to another person
any transaction or matter addressed herein.




-----Original Message-----
From: Lee, John (USACAC) [maUto;John,Lee2@usdQj.gov]
Sent: Friday, March 21, 2014 2:37 PM
To: Pacheco, Anthony; Barnhardt, Rebecca



                                                                                                 USAO-MA-0107846
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Cc: Cohen, David (CIV)
Subject: RE: Insys - Status Report

Anthony,

Thanks for your call today. As requested, please provide us with further details regarding the volume of
data corresponding to each of the devices from which data was obtained, as well as further breakdowns
to allow a determination of whether and how search strategies should be employed.

This will confirm that you advised us today that Joseph Rowan's cell phone was destroyed in an
accident in January and that you are attempting to determine whether data can be retrieved from its
remnants. As also discussed, please provide us with additional information concerning this event,
including:

      - the date and location of its occurrence,
      - the circumstances leading to and following the event,
      - the identities of any persons with knowledge of the event,
      - descriptions of the data that can be retrieved, as well as data that cannot be retrieved, from the
cell phone, and
      - the identity of the service provider for the cell phone.

We understand that, to your knowledge, no other potentially responsive sources of information have
been lost or destroyed. Thank you.

John




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Del itte~                                                                                                   Deloitte Financial Advisory Services
                                                                                                            LLP

                                                                                                            Michael Weil
April 10, 2014                                                                                              Director
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Via UPS                                                                                                     miweil@deloitte.com
                                                                                                            www.deloitte.com


Michael S. Koslow
U.S. Department of Defense
Office of the Inspector General
Defense Criminal Investigative Service
Valencia Resident Agency
25350 Magic Mountain Parkway, Suite 200
Valencia, CA 91355

Re: Transmittal Letter for Joseph Rowan and Insys Therapeutics, Inc. evidence

Dear Agent Koslow:

Please find enclosed the mobile device collected from Joseph Rowan.

A summary of the contents of shipment;


Number ofitems being sent: 1.




                                   990002813-29362




Please feel free to contact me with any questions or concerns.


Sincerely,




   ~Jae}
· Michael Weil

cc:
Via Email wlo Enclosures:

Rebecca Barnhardt (RCB@JMBM.com)




Solely for the information and use of client name and not to be relied upon by any other person or entity      Member of
                                                                                                               Oelollle Touche Tohmatsu Limited
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         Case 1:16-cr-10343-ADB Document 1150-2 Filed 01/16/20 Page 5 of 5




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                                                                                If this form is for the original evidence - place a copy Into !he case file and the original
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Revised 9/05




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